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     UNITED STATES OF AMERICA v. ERIC ADAMS, No. 1:24-cr-556


                                   NOTARIZED AFFIDAVIT
(a) whether the applicant has ever been convicted of a felony: No.
(b) whether the applicant has ever been censured, suspended, disbarred or denied admission or
readmission by any court: No.
(c) whether there are any disciplinary proceedings presently against the applicant: No.
(d) the facts and circumstances surrounding any affirmative responses to (a) through (c): NIA

I am familiar with the local rules for the United States District for the Southern
District of New York. Attached is a true and accurate copy of a recent DC
Certificate of Good Standing.
R. Trent McCotter




                                                       District of Columbia
                                                       Signed and sworn to (or affirmed) before me
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                                                                                         ividual(s) making Statemint


                                                       Signatu    ol Notarial Officer

                                                        A'iU-<1-Y
                                                       TIiie ol Office
                                                       My commission expires:
Case 1:24-cr-00556-DEH              Document 142-1            Filed 02/26/25              Page 2 of 2




       On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                       the District of Columbia Bar does hereby certify that



                     Richard Trent McCotter
   was duly qualified and admitted on December 10, 2012 as an attorney and counselor entitled to
     practice before this Court; and is, on the date indicated below, an Active member in good
                                         standing of this Bar.




                                                                            In Testimony Whereof,
                                                                        I have hereunto subscribed my
                                                                       name and affixed the seal of this
                                                                              Court at the City of
                                                                    Washington, D.C., on February 24, 2025.




                                                                             JULIO A. CASTILLO
                                                                              Clerk of the Court




                                                       Issued By:


                                                                          David Chu - Director, Membership
                                                                         District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
